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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 EVANSVILLE DIVISION


 ROBERT LOUIS DUVALL, Individually and on
                                       )
 behalf of PATSY DUVALL, Deceased,     )
                                       )
                  Plaintiff,           )
           v.                          ) CASE NO. 3:12-cv-0143-RLY-WGH
                                       )
 CARY HANNI, M.D.,                     )
 EVANSVILLE SURGICAL ASSOCIATES, INC., )
 and DEACONESS HOSPITAL, INC.,         )
                  Defendants.          )


                             ORDER OF DISMISSAL
 ______________________________________________________________________________

        This matter is before the court on the Parties’ Stipulation of Dismissal.

       And the Court, having reviewed said Stipulation and being duly advised in the premises,
 now grants the relief requested.

        IT IS THEREFORE ORDERED that Defendants Cary Hanni, M.D., Evansville Surgical
 Associates, Inc., and Deaconess Hospital, Inc., can be dismissed with prejudice from the above
 cause and this matter can now be removed from the Court’s Docket.



        07/16/2013
 Date:___________________
                                                             _________________________________
                                                             RICHARD L. YOUNG, CHIEF JUDGE
                                                             United States District Court
 Distribution:                                               Southern District of Indiana

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